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                        EXHIBIT 11
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                           UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF MASACHUSETTS



  COMMONWEALTH OF
  MASSACHUSETTS, et al.,
    Plaintiffs,                                     Case No. ________________

             v.


  NATIONAL INSTITUTES OF HEALTH,
  et al.,

    Defendants.




                            Declaration of Donald M. Elliman, Jr.

   I, Donald M. Elliman, Jr. hereby declare:

1. I am the Chancellor for the University of Colorado Anschutz Medical Campus (AMC), a

   position I have held since 2012. As Chancellor, I am the Chief Executive Officer and have

   oversight of all academic, clinical, research, fiscal and administrative duties of the AMC.

2. As the Chancellor, I have personal knowledge of the matters set forth below or have

   knowledge of the matters based on my review of information and records gathered by my

   staff.

3. I am providing this declaration to explain certain impacts of National Institutes of Health

   (“NIH”) Notice Number NOT-OD-25-068, Supplemental Guidance to the 2024 NIH Grants

   Policy Statement: Indirect Cost Rates, which purports to immediately reduce indirect costs

   payments to 15%.




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4. The AMC is the state’s only academic medical research campus. From our academic colleges

   to our research institutes, NIH is our top federal sponsor. The AMC supports more than 1,000

   clinical trials with more than 14,000 enrollments in research studies last year in a broad array

   of investigations across the health spectrum. Clinical trials allow patients the opportunity to

   join investigations of the latest innovations in human health. This includes new cancer

   therapies, studies of novel cardiovascular devices, and new approaches for Alzheimer’s

   disease among many others. Some recent research highlights include:

   Advancing Mental Health Breakthroughs: Scientists at AMC are on the forefront of

   interdisciplinary research to help address the mental health crisis. Recent research highlights

   include groundbreaking clinical trials that are testing the effectiveness of deep brain

   stimulation—a novel procedure that implants electrodes into the brain as a treatment for

   OCD and schizophrenia; AMC scientists are studying the underlying causes of depression

   and anxiety, both genetic and environmental, and how to reduce risk factors across the

   lifespan.

   Delivering New Cancer Cures: The AMC is home to the University of Colorado Cancer

   Center, a world leader in pioneering more effective and personalized cancer treatments that

   are giving renewed hope to cancer patients. Recent research highlights include: home to

   leading cellular therapy scientists and a state-of-the-art manufacturing facility, the Gates

   Institute at AMC is advancing cutting-edge CAR T-cell therapies that are revolutionizing the

   way we treat leukemia, lymphoma and other cancers—often with fewer side effects than

   chemotherapy; Basic scientists at AMC are making significant progress in understanding the

   cellular mechanisms that drive cancer growth, helping to unlock new treatment pathways and

   cures.



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   Improving Military and Veteran Health: AMC is home to renowned researchers on

   trauma care, brain injuries and PTSD. Today, our researchers are using their expertise to help

   inform caregivers and military leaders on combat-related injuries, surgical trauma techniques,

   mental health interventions and more. Recent research highlights include: an AMC team won

   the 2023 Military Health System Research Symposium research team award for their

   significant contributions to military medicine. The SAVE O-2 team is studying how much

   oxygen is needed for critically injured patients, which could reshape military medical supply

   logistics; Through the Firearm Injury Prevention Initiative, researchers are leading evidence-

   based interventions to help reduce suicide rates among veterans and active military, including

   a “Lock to Live” program that promotes safe gun storage for those in crisis.

   Transforming Diabetes Care: AMC is nationally recognized for its novel research into

   diabetes detection, causes and prevention, as well as its integrated approach to incorporating

   new treatments directly into patient care. Researchers are working to reduce diabetes by

   studying the key drivers of obesity and metabolic disease, as well as the most effective

   interventions to help patients to live healthier lives.

5. This research is supported by annual awards of $360 million from the NIH in Fiscal Year

   2024.

6. The AMC has a Negotiated Indirect Cost Rate Agreement (“NICRA”) with NIH, effective as

   of 5/11/2023. The Indirect Cost (“IDC”) Rate in the AMC NICRA is 56%.

7. AMC’s total effective IDC rate, calculated as the average of active awards, for NIH funding

   is 34.2%.

8. NIH’s reduction of the AMC’s IDC rate[s] will eliminate approximately $74 million in

   annual funding that the AMC uses to support its research programs. The loss of these funds

   will immediately impact the AMC’s ability to draw critical funds used to pay expenses

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   associated with maintaining our critical research infrastructure and support. IDC funds on the

   AMC campus are critical to providing support for related personnel and other direct research

   infrastructure and support. A large portion of IDC is used to support the robust facilities

   provided by AMC to complete our research programs and objectives.

9. The loss of IDC funds will cause partial elimination of clinical trial activity. AMC supports

   over 1,000 clinical trials with more than 14,000 enrollments in research studies last year.

10. IDC funds on AMC are essential in supporting the research mission, from basic scientific

   discovery to pre-clinical investigations, to clinical trials to population health. This change for

   NIH awards would potentially cause a reduction of 47.5% of our total campus IDC. The loss

   of these funds will delay or halt the hiring of world-class researchers. IDC also funds existing

   debt service for controlled maintenance. The drastic cuts to NIH F&A will bring the

   Institute’s research and community-based programs to a virtual standstill due to the loss of

   shared administrative staff and the specialized computing infrastructure essential for the

   Institute’s efforts.

11. The AMC next anticipates to draw funds on or around Monday, February 10, 2025. At that

   time, the reduced IDC rate will impact the AMC in the following ways:

       a. Potential hiring freezes, furloughs or layoffs of university faculty, staff and student

           hourly positions.

       b. Potential elimination of clinical trial activity.

       c. Reductions to planned deferred maintenance projects.

       d. Reduction or elimination of planned investments in institutional financial aid.

       e. Reduction or elimination of planned compensation increases for faculty and staff.

       f. Reduced programmatic offerings.



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I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

Executed this 9th day of February, 2025, in Aurora Colorado.



_________________________________
Donald M. Elliman, Jr.
Chancellor
University of Colorado Anschutz Medical Campus (AMC)




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